                                                       Clear Form
DOCUMENTS UNDER SEAL                                                           TOTAL TIME (m ins): 23 min
M AGISTRATE JUDGE                          DEPUTY CLERK                                REPORTER/FTR
M INUTE ORDER                             Lili M. Harrell                                FTR: 1:45pm -2:08pm
MAGISTRATE JUDGE                           DATE                                           NEW CASE         CASE NUMBER
Nathanael Cousins                         February 8, 2016                                               16-cr-00047 EJD -01
                                                         APPEARANCES
DEFENDANT                                  AGE         CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Jonathan Chang                                         Y       P         Varell Fuller - specially             APPT.
U.S. ATTORNEY                              INTERPRETER                                  FIN. AFFT            COUNSEL APPT'D
Amie Rooney                                Mary Ma - Mandarin                           SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                   DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Jaime Carranza                              APPT'D COUNSEL                OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                               STATUS
                                                                                                                  TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT               BOND HEARING                IA REV PROB. or          OTHER
                                                                                         or S/R
       DETENTION HRG               ID / REMOV HRG            CHANGE PLEA                 PROB. REVOC.             ATTY APPT
                                                                                                                  HEARING
                                                       INITIAL APPEARANCE
        ADVISED                  ADVISED                    NAME AS CHARGED                 TRUE NAME:
        OF RIGHTS                OF CHARGES                 IS TRUE NAME
                                                           ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON                 READING W AIVED                  W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                   SUBSTANCE
                                                           RELEASE
      RELEASED            ISSUED                       AMT OF SECURITY           SPECIAL NOTES               PASSPORT
      ON O/R              APPEARANCE BOND              $ 200,000 P/R                                         SURRENDERED
                                                                                                             DATE: 2/9/16
PROPERTY TO BE POSTED                           CORPORATE SECURITY                            REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED             RELEASED         DETENTION HEARING            REMANDED
      FOR             SERVICES                                                       AND FORMAL FINDINGS          TO CUSTODY
      DETENTION       REPORT                                                         W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                               PLEA
    CONSENT                     NOT GUILTY                    GUILTY                       GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA                PLEA AGREEMENT               OTHER:
    REPORT ORDERED                                            FILED
                                                           CONTINUANCE
TO:                              ATTY APPT                    BOND                      STATUS RE:
2/11/2016                        HEARING                      HEARING                   CONSENT                TRIAL SET

AT:                              SUBMIT FINAN.                PRELIMINARY               CHANGE OF              STATUS
                                 AFFIDAVIT                    HEARING                   PLEA
1:30pm                                                        _____________
BEFORE HON.                      DETENTION                    ARRAIGNMENT                MOTIONS               JUDGMENT &
                                 HEARING                       further                                         SENTENCING
Cousins
       TIME W AIVED              TIME EXCLUDABLE              IDENTITY /                PRETRIAL               PROB/SUP REV.
                                 UNDER 18 § USC               REMOVAL                   CONFERENCE             HEARING
                                 3161                         HEARING
                                                 ADDITIONAL PROCEEDINGS
Court grants Govt.'s oral motion to unseal the case.


                                                                                               DOCUMENT NUMBER:
